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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                    LOUISVILLE DIVISION
                                   CASE NO: 3:23-CR-14-DJH

UNITED STATES OF AMERICA                                                          PLAINTIFF


V.                                          ORDER


BRYAN DOUGLAS CONLEY                                                           DEFENDANT

                                            *****


        Motion having been made, and the Court being sufficiently advised,

        IT IS HEREBY ORDERED as follows:

        1.      Defendant Conley’s Motion in Limine to Exclude Certain Text Messages is

GRANTED;

        2.      The United States is hereby prohibited from introducing the text messages, or the

substance of the text messages, allegedly sent by Mr. Conley to K.C. and Elizabeth Heather Glass,

at any trial in this matter.
